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EXHIBIT A
Case 6:17-cv-02206-CEM-GJK Document 97-1 Filed 08/01/18 Page 2 of 10 PagelD 1884

AO 88B (Rev, 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT
: for the

Middle District of Florida

NuVasive, Inc.

Plaintiff
v.
Absolute Medical, LLC, et al.

 

 

Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Bank of America, N.A.

 

(Name of person to whom this subpoena is directed)

fh Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: see attached Exhibit A.

 

Place: Gullett, Sanford, Robinson & Martin PLLC Date and Time;
150 Third Avenue South, Suite 1700 .
Nashville, TN 37201 08/06/2018 10:00 am

 

 

 

 

(J Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: Date and Time:

 

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached —- Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so, ,

Date: 07/06/2018

  

 

  

 

CLERK OF COURT
OR
Signature of Clerk or Deputy Clerk Attorney's sipnatgre
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Plaintiff
NuVasive, Inc. , who issues or requests this subpoena, are:

 

M. Thomas McFarland, 150 Third Avenue South, Sulte 1700, Nashville, TN 37201; 615-244-4994
—tmcfarland@gsrm com

 

Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).

EXHIBIT

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AO 88B (Rev. 12/13) Subpoena te Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

 

Civil Action No, 6:17-cv-2206-Orl-41GJK

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

[received this subpoena for (name of individual and title, any)

 

on (date)

1 Iserved the subpoena by delivering a copy to the named person as follows:

 

 

on (date) ; or

 

O) I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:

 
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13) ”

(c) Place of Compliance,

(1) For a Trial, Hearing, or Deposition, A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person.
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense,

(2) For Other Discovery, A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

{B) inspection of premises at the premises to be inspected,

(d) Protecting a Person Subject to a Subpoena; Enforcement,

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply,

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial,

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the patty or attomey designated
in the subpoena a written objection fo inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. [fan objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
er compelling production or inspection,
(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv) subjects a person to undue burden, .

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena ifit requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party,

{C) Specifying Conditions as an Alternative. In the circumstances

~ deseribed in Rule 45(d)(3)(B), the court may, instead of quashing or

modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated,

(ec) Duties in Responding to a Subpoena,

()) Producing Documents or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand,

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms,

(C) Electronically Stored Information Produced in Only One Form, The
person responding need not produce the same electronically stored
information in more than one form,

(D) Inaccessible Electronically Stored Information, The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost, If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection,

(A) Information Withheld, A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(il) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly retum, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal fo the court for the district where
compliance is required for a determination of the claim, The person who
produced the information must preserve the information until the claim is
resolved,

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court-—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed, R. Civ. P. 45(a) Committee Note (2013),

 

 

 
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION

NUVASIVE, INC. )
)
Plaintiff, )
)

v. ) Civil Case No, 6:17-cv-2206-Orl-41GJK
)
ABSOLUTE MEDICAL, LLC, GREG )
SOUFLERIS, DAVE HAWLEY, RYAN )
MILLER, and ABSOLUTE MEDICAL )
SYSTEMS, LLC )
)
Defendants, )
)

 

EXHIBIT A TO SUBPOENA DUCES TECUM
TO BANK OF AMERICA, N.A.

Pursuant to Federal Rule of Civil Procedure 45 and, Plaintiff NuVasive, Inc.
(“NuVasive”), by and through its counsel of record, attaches the following to its Subpoena Duces
Tecum to Bank of America, N.A.: |

I. DEFINITIONS

1. “You” or “your” shall mean Bank of America, N.A., including without limitation,
its parents, subsidiaries, partners, distributorships, and/or affiliates and each of their
representatives, agents, directors, officers, employees, and all other persons acting or purporting
to act on each of their behalf.

2. ‘“NuVasive” shall mean the Plaintiff in this matter, including without limitation,
its parents, subsidiaries, partners, distributorships, and/or affiliates and each of their
representatives, agents, directors, officers, employees, and all other persons acting or purporting

to act on each of their behalf,

 
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3, “Employee” shall refer to any person acting as a supervisor, manager, sales agent,
distributor, employee of a distributor, independent contractor, administrative personnel, third
party recruiter, or other individual or affiliate working on your behalf.

4, “Communication” or “communicate” refers to each and every incident in which
information is transmitted, whether by correspondence, note, memorandum, telephone, SMS

_ text, MMS text, email, telex, telegram, or online networking; whether orally, in person, through
recording, in writing, or by any other means whatsoever.

5, The terms “documents” or “documentation” are used in the broadest sense
permitted under the Federal Rules of Civil Procedure and applicable Local Rules, The terms
include any written, typewritten, printed, emailed, recorded, or graphic matter, however
maintained, produced or reproduced; any electronically, mechanically, or magnetically recorded
matter of any kind or character, however maintained, produced or reproduced, including without
limitation all electronic devices, computer data storage devices of any kind, and online networks;
and any other matter constituting the recording of data or information upon any tangible thing by
any means, including without limitation correspondence, letters, telegraphs, contracts,
agreements, notes, memoranda, analyses, studies, drawings, plans, schedules, blueprints, bid
proposals, bid estimates, projections, photographs, videotapes, cassettes, discs, reports, work
papers, calendars, meeting minutes, purchase orders, invoices, confirmation slips, time records,

tape recordings, flash drives, computer tapes or discs, or any other writing, including draft

reports of the foregoing.

6. The words “and” and “or” are to be considered both conjunctively and
disjunctively.

7. The singular form of a noun or pronoun includes the plural form and vice versa,

 
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8. “Related to” or “relates to” means pertaining to, evidencing, containing, setting
forth, reflecting, showing, disclosing, describing, explaining, summarizing, concerning or
referring to, whether directly or indirectly.

9, “Electronic Device” or “device” includes personal computers, laptops, personal
digital assistants, smart phones, cell phones, blackberries, iPads, Tablets, memory cards, flash
drives, external hard drives, CDs, DVDs, disks, optical media, or other electronic or magnetic
storage devices of any kind,

I. INSTRUCTIONS

1, These requests seek documents and things in existence as of the date of service
thereof and to the full extent of the Federal Rules of Civil Procedure, These requests are of a
continuing nature and you are required to file and serve supplemental responses promptly if you
obtain further or different information and/or additional documents after the date of your initial
response and before this case is completed,

2. These requests shall apply to all documents in your possession, custody or control
at the present time or that come into your possession, custody or control. If you know of the
existence, past or present, of any documents or things requested below, but are unable to produce
such documents or things because they are not presently in your possession, custody or control,
you shall so state and shall identify such documents or things, and the person who has
possession, custody or control of the documents or things,

3. If no documents até responsive to a patticular request, you are to state that no

responsive documents exist.

 
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4,

For any responsive documents or tangible things that have been lost, destroyed or

withheld from production based on any ground, you shall provide a written statement setting

forth:
(a)
(b)
(c)
(d)
(e)
)

5.

the identity of the document;

the nature of the document (e.g., letter, memorandum, chart);

the identity of the person(s) who received copies of the document;

the date of the document;

a brief description of the subject matter of the document; and

the circumstances of the loss or destruction of the document and/or any fact,
statute, rule or decision upon which you rely in withholding the document,

If you decline to produce any document or part thereof based on a claim of

privilege or any other protection, provide a “privilege log” which identifies each document

separately and specifies for each document at least the following:

(a)

(b) |

(c)

the date;

all authors and/or senders identified by position and entity with which they are
employed or associated and, if any author and/or sender is an attorney, a
statement so stating and, if any author and/or sender is a foreign patent agent, a
statement so stating and a statement as to whether the laws of the agent’s country
grant privileged status to a patent agent’s communications;

the recipient(s), including copy recipients, identified by position and entity with
which they are employed or associated and, if any recipient is an attorney, a

statement so stating and, if any recipient is a foreign patent agent, a statement so

 
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stating and a statement as to whether the laws of the agent’s country grant
privileged status to a patent agent’s communications;

(d) the general subject matter of the document;

(e) the portion(s) of the document as to which privilege or protection is claimed; and

(f) the type of privilege or protection asserted,

6. If you object to any part of a request, specify which part of the request you object
to, and produce or allow inspection of all remaining parts.

7, All documents requested ate to be produced in the same file or other
organizational environment in which they are maintained. For example, a document that is part
of a file, docket, or other grouping, should be physically produced together with all other
documents from said file, docket or grouping, in the same order or manner of arrangement as the
original. Alternatively, as to each document and thing produced in response hereto, you shall
identify the request for production in response to which the document or thing is being produced,

8, With respect to electronically stored information (“ESI”) it shall be produced in
single-page TIFF format with OCR text, with a corresponding load file containing a path to the
OCR text and the Native file. In the case of responsive spreadsheets, audio, database, and video
files, or any other responsive ESI for which the above format is not practicable, the ESI shall be
produced in native format with unique identifying numbers associated with the native
documents. In the case of emails, attachments should be identified as such that they can be
matched to the parent email. ESI should be produced on CD-ROM, DVD, removable hard drive,
or other standard storage medium. NuVasive reserves the right to request ESI be produced with

all accompanying metadata intact and/or in native file format.

 
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I. DOCUMENT REQUESTS

1. All documents related to any accounts held by Absolute Medical, LLC, including
without limitation, documents evidencing deposits, credits, withdrawals, transfers, and/or
communications, for the time period of January 1, 2016, through the present.

2. All documents related to any accounts held by Absolute Medical Systems, LLC,
including without limitation, documents evidencing deposits, credits, withdrawals, transfers,
and/or communications, for the time period of January 1, 20 16, through the present.

3, All documents related to any accounts held by The Absolute Group, Inc.,
including without limitation, documents evidencing deposits, credits, withdrawals, transfers,
and/or communications, for the time period of January 1, 2016, through the present.

4, All documents related to any accounts held by Absolute Ortho, Inc., including
without limitation, documents evidencing deposits, credits, withdrawals, transfers, and/or
communications, for the time period of January 1, 2016, through the present.

5, All documents related to any accounts held by Blackfin Funds, Inc., including
without limitation, documents evidencing deposits, credits, withdrawals, transfers, and/or
communications, for the time period of January 1, 2016, through the present.

6. All documents related to any accounts held by Blackfin Assets, Inc., including
without limitation, documents evidencing deposits, credits, withdrawals, transfers, and/or

communications, for the time period of January 1, 2016, through the present.

 
